Case 6:22-bk-11185-WJ         Doc 32 Filed 09/08/22 Entered 09/08/22 12:55:57                     Desc
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   1   Rod Danielson, Chapter 13 Trustee
       3787 University Avenue
   2   Riverside, CA 92501
       Tel. (951) 826-8000, Fax (951) 826-8090
   3

   4

   5

   6

   7
                                 UNITED STATES BANKRUPTCY COURT
   8

   9                              CENTRAL DISTRICT OF CALIFORNIA

  10                                         RIVERSIDE DIVISION
  11
       IN RE:                                                Case No.: 6:22-bk-11185-WJ
  12
       ROSALIE JEAN MORENO                                   Chapter 13
  13

  14
                                      Debtor(s).             CHAPTER 13 TRUSTEE'S STATEMENT
  15                                                         REGARDING PLAN CONFIRMATION

  16                                                         Confirmation Hearing
                                                             Date: September 26, 2022
  17                                                         Time: 1:30 pm
  18                                                         Courtroom: 304
       The Chapter 13 Trustee recommends confirmation per the proposed terms set forth on the
  19

  20   attached confirmation worksheet. Debtor(s) must file a response to this statement by the

  21   deadline set forth in the Court's Scheduling Order.

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  23
       Dated: 09/08/2022
  24

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  29

                                                                                      FG: 255 - 09/08/2022 - BK
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                         Chapter 13 Confirmation Worksheet
Name of Debtor(s):      ROSALIE JEAN MORENO                           Case #: 6:22-bk-11185-WJ Calendar #:

Date of Filing of Plan: 03/31/2022                 Docket Number: 2

Is this confirmed plan (circle one):       an original plan                  an amended plan
Plan Term:
                   Starting 05/01/2022 the monthly plan payment is $961.00
                   Starting 09/01/2022 the monthly plan payment is $983.00

Monthly due date: 1st

Number of Months: 60

Percentage to General Unsecured Creditors: 100%

Plan Base: $58,892

Attorney fees:
       Total amount awarded: $5000
       Amount of Fees Already Paid to Counsel: $187
       Refund to Trustee:
       Remaining amount of Fees to Be Paid from Estate: $4813 at a rate no more than $481.30 per month.


Interlineations:

1.        The Trustee shall pay the priority claim of the IRS in the amount of $6,690.50 at a rate no less than
$111.51 per month for 60 months.

2.        The Trustee shall pay the secured claim of the NewRez LLC (d/b/a Shellpoint Mortgage) in the
amount of $578.19 at a rate no less than $15.22 per month for 38 months.




                                                                                          FG: 255 - 09/08/2022 - BK
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                                      Direct Payments/Conduit Payments

 Does the plan contemplate that the debtor(s) will be responsible for making any payments directly to
 creditors?        Yes                No


 If so, for any and all direct payments, complete the following:
                                                                                                      Lien Priority
                                                   Monthly                                             (1st or 2nd or
 Name of Creditor:                                 Payment         Collateral:                             other)
 Shellpoint Mortgage                               $578.19         residence                           senior
 Alaska Federal Credit Union                       $577.84         2019 GMC Acadia
 Toyota Financial Services                         $522.86         2018 Toyota Camry
 Pierce Brothers Crestlawn Mortuary                $390            burial plots



Will any assets be abandoned:             Yes                No




                                                                                        FG: 255 - 09/08/2022 - BK
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 In re:   ROSALIE JEAN MORENO                                                                   Chapter: 13

                                                                                 Debtor(s)      Case Number:        6:22-bk-11185-WJ
                                        PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is
3787 University Avenue, Riverside, CA 92501.

A true and correct copy of the foregoing document entitled: CHAPTER 13 TRUSTEE'S STATEMENT REGARDING
PLAN CONFIRMATION will be served or was served (a) on the judge in chambers in the form and manner required
by LBR 5005-2(d); and (b) in the manner indicated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING ("NEF") - Pursuant to controlling
General Orders LBR, the foregoing document will be served by the court via NEF and hyperlink to the document.
On _____________________, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and
determined that the following persons are on the Electronic Mail Notice List to receive NEF transmission at the
email addresses stated below:

                                                                                           Service Information continued on attached pag
2. SERVED BY UNITED STATES MAIL:
On 9/8/2022, I served the following persons and/or entities at the last known addresses in this bankruptcy case or
adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here contitutes a declaration that mailing

Debtor                                Attorney for Debtor
ROSALIE JEAN MORENO                   PRICE LAW GROUP APC
1456 EAST PHILADELPHIA                6345 BALBOA BLVD, SUITE
ST, SPC 436                           247
ONTARIO, CA 91761                     ENCINO, CA 91316

                                                                                           Service Information continued on attached pa

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state
method for each person or entity served ): Pursuant to F.R.Civ.P.5 and/or controlling LBR, on 09/08/2022 I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in
writing to such service method), by facsimile transmission and/or email as follows. Listing the judge here

HONORABLE WAYNE E.
JOHNSON
3420 TWELFTH STREET,
COURTROOM 304
RIVERSIDE, CA 92501-3819

                                                                                           Service Information continued on attached pa

I declare under penalty of perjury under the laws of the United States of America that the foregoing is true and corre



          9/8/2022                                       Susan Jones
            Date                                         Printed Name

           This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

 JUNE 2012
                                                                                                   F 9013-3.1.PROOF.SERVICE
                                                                                                                          FG: 255 - 09/08/2022 - BK
